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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS


TEREX SOUTH DAKOTA INC. and
TEREX USA, LLC,

      Plaintiffs,                                Case No. 4:21-cv-00287

      v.                                         Judge David Hittner

SINOBOOM NORTH AMERICA LLC,                      Jury Demanded

      Defendant.


     DEFENDANT’S ANSWER, DEFENSES, AND COUNTERCLAIMS

      Defendant Sinoboom North America LLC, (“Sinoboom”) by and through its

undersigned counsel, hereby responds to the separately numbered paragraphs of the

Complaint filed by Plaintiffs Terex South Dakota, Inc. and Terex USA, LLC as

follows:

                       NATURE AND BASIS OF ACTION
      1.     Sinoboom admits that Plaintiff filed this action and that Plaintiff seeks

the relief requested in Paragraph 1. Sinoboom denies all allegations of infringement,

wrongdoing, and liability made or referred to in this Paragraph.

                                  THE PARTIES
      2.     Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 2 and therefore denies the same.
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      3.     Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 3 and therefore denies the same.

      4.     Admitted.

      5.     Admitted.

      6.     Denied.

                                 JURISDICTION
      7.     Sinoboom denies that Plaintiff has stated any valid claims against it and

denies it has conducted any illegal business.

      8.     Sinoboom denies that Plaintiff has stated any valid claims against it and

denies it has conducted any illegal business.

      9.     Sinoboom admits the jurisdictional allegations of this Paragraph.

Otherwise denied.

      10.    Sinoboom admits the jurisdictional allegations of this Paragraph.

Otherwise denied.

      11.    Sinoboom admits the jurisdictional allegations of this Paragraph.

Otherwise denied.

      12.    Sinoboom admits the venue allegations of this Paragraph. Otherwise

denied.




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                          FACTUAL BACKGROUND
      13.    Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 13 and therefore denies the same.

      14.    Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 14 and therefore denies the same.

      15.   Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 15 and therefore denies the same.

      16.   Denied.

      17.   Denied.

      18.   Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 18 and therefore denies the same.

      19.   Denied.

      20.   Denied.

      21.   Denied.

      22.   Denied.

      23.   Denied.

      24.   Denied.

      25.   Denied.

The GENIE BLUE Trademark

      26.   Denied.



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      27.    Denied.

      28.    Denied.

      29.    Denied.

      30.    Sinoboom admits that Exhibits A-D to the Complaint appear to be the

purported federal trademark registrations referenced in Paragraph 30. These

documents speak for themselves. Sinoboom denies all allegations that the

registrations were properly granted and denies the remainder of the allegations in

this Paragraph.

      31.    Sinoboom admits that Exhibit A appears to be the purported federal

trademark registration referenced in Paragraph 31. This document speaks for itself.

Sinoboom denies all allegations that the registration was properly granted and denies

the remainder of the allegations in this Paragraph.

      32.    Sinoboom admits that Exhibit B appears to be the purported federal

trademark registration referenced in Paragraph 32. This document speaks for itself.

Sinoboom denies all allegations that the registration was properly granted and denies

the remainder of the allegations in this Paragraph.

      33.    Sinoboom admits that Exhibit C appears to be the purported federal

trademark registration referenced in Paragraph 33. This document speaks for itself.

Sinoboom denies all allegations that the registration was properly granted and denies

the remainder of the allegations in this Paragraph.



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      34.    Sinoboom admits that Exhibit D appears to be the purported federal

trademark registration referenced in Paragraph 34. This document speaks for itself.

Sinoboom denies all allegations that the registration was properly granted and denies

the remainder of the allegations in this Paragraph.

      35.    Paragraph 35 calls for a legal conclusion and no response is required.

To the extent a further response is required, Sinoboom denies all allegations that the

registrations referenced in Paragraph 35 were properly granted and denies the

remainder of the allegations in this Paragraph.

      36.    Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 36 and therefore denies the same.

Defendants and Their Wrongful Conduct

      37.    Denied.

      38.    Admitted.

      39.    Denied.

      40.    Denied.

      41.    Denied.

      42.    Denied.

      43.    Denied.

      44.    Sinoboom is without sufficient information to admit or deny the

allegations in Paragraph 44 and therefore denies the same.



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      45.    Paragraph 45 calls for a legal conclusion and no response is required.

To the extent a further response is required, denied.

      46.    Denied.

      47.    Denied.

      48.    Sinoboom admits that it received a letter from Plaintiff’s counsel.

Otherwise denied.

COUNT I
Federal Trademark Infringement and Counterfeiting
(15 U.S.C. § 1114(1))
      49.    Sinoboom incorporates by reference its responses to the Paragraphs

above as if set forth fully herein.

      50.    Denied.

      51.    Denied.

      52.    Denied.

      53.    Denied.

      54.    Denied.

      55.    Denied.

      56.    Denied.

      57.    Denied.

      58.    Denied.

      59.    Denied.


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      60.    Denied.

      61.    Denied.

COUNT II
Federal False Designation of Origin
(15 U.S.C. § 1125(a))

      62.    Sinoboom incorporates by reference its responses to the Paragraphs

above as if set forth fully herein.

      63.    Denied.

      64.    Denied.

      65.    Denied.

      66.    Denied.

      67.    Denied.

      68.    Denied.

      69.    Denied.

      70.    Denied.

COUNT III
Trademark Infringement under Texas Common Law

      71.     Sinoboom incorporates by reference its responses to the Paragraphs

above as if set forth fully herein.

      72.    Denied.

      73.    Denied.



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      74.    Denied.

      75.    Denied.

      76.    Denied.

      77.    Denied.

      78.    Denied.

      79.    Denied.

COUNT IV
Unfair Competition under Texas Common Law

      80.     Sinoboom incorporates by reference its responses to the Paragraphs

above as if set forth fully herein.

      81.    Denied.

      82.    Denied.

      83.    Denied.

      84.    Denied.

      85.    Denied.

      86.    Denied.

      87.    Denied.

      88.    Denied.




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                                  JURY DEMAND
      Sinoboom demands a trial by jury on all issues so triable.

                               PRAYER FOR RELIEF
      Sinoboom denies that Plaintiff is entitled to any relief and denies all the

allegations contained in Plaintiff’s Prayer for Relief.

                           AFFIRMATIVE DEFENSES
      In further answer to the Complaint, and as separate defenses or affirmative

defenses thereto, Sinoboom alleges as follows. By stating these defenses or

affirmative defenses, Sinoboom does not assume the burden of proof of any defense

or affirmative defense, except as required by law:

FIRST AFFIRMATIVE DEFENSE

      Plaintiffs’ Complaint fails to state a claim for which relief may be granted.

SECOND AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred in whole or in part by principles of equity,

including without limitation, laches, unclean hands, estoppel, and/or acquiescence.

THIRD AFFIRMATIVE DEFENSE

      Sinoboom has not infringed any trademark right of Plaintiffs’ because

Sinoboom has not used Plaintiffs’ trademark on their own products in the manner

granted in the registration.




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FOURTH AFFIRMATIVE DEFENSE

      Sinoboom’s use is not likely to cause consumer confusion with Plaintiffs’ use

given the differences between the marks, the sophistication of the purchasers of the

parties’ services, the geographic separation between the parties, and other relevant

factors.

FIFTH AFFIRMATIVE DEFENSE

      Plaintiffs’ registrations are not conclusive evidence of validity, ownership and

the exclusive right to use the mark with respect to Sinoboom pursuant to Section

33(b) of the Lanham Act, 15 U.S.C. § 1115(b).

SIXTH AFFIRMATIVE DEFENSE

      Plaintiffs’ U.S. Registration No. 3,540,392 is invalid because, for example

and without limitation, it comprises matter that is functional in violation of 15 U.S.C.

§ 1052(e), and was subject of an improper amendment which constituted a material

alteration of the character of the mark in violation 15 U.S.C. § 1057(e).

SEVENTH AFFIRMATIVE DEFENSE

      Plaintiffs’ U.S. Registration Nos. 5,965,074, 5,970,650, and 5,970,651 are

invalid because, for example and without limitation, the marks claimed therein are

not distinctive and Plaintiffs have not shown secondary meaning.




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EIGHTH AFFIRAMTIVE DEFENSE

      Plaintiffs’ Texas Common Law claims (Counts III & IV) are preempted by

the Lanham Act.

NINTH AFFIRMATIVE DEFENSE

      Plaintiffs have not suffered any cognizable damages. To the extent Plaintiffs

have suffered any such damages, they must be reduced because of Plaintiffs’ failure

to mitigate.

TENTH AFFIRMATIVE DEFENSE

      Plaintiffs are not entitled to injunctive relief because, for example and without

limitation, any injury to Plaintiffs are not immediate or irreparable, and Plaintiffs

have adequate remedies at law including monetary compensation.

ELEVENTH AFFIRMATIVE DEFENSE

      Defendants’ are not entitled to damages in the amount of lost profits as Terex

South Dakota, Inc., the owner of the asserted trademark, does not sell products that

directly compete with Sinoboom and Terex USA, LLC does not have ownership of

any of the asserted trademarks.

TWELFTH AFFIRMATIVE DEFENSE

      Plaintiffs are not damaged by the actions of the Sinoboom. No customer or

potential customer of Plaintiffs has been confused, mistaken or deceived, nor would

such confusion be likely.



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THIRTENTH AFFIRMATIVE DEFENSE

      Upon information and belief, Plaintiffs’ registration is invalid due to an

improper transfer of ownership of the registration without a transfer of the requisite

goodwill associated therewith.

FOURTENTH AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, by the statute of limitations.

                          RESERVATION OF RIGHTS
      The foregoing defenses or affirmative defenses are raised by Sinoboom

without waiver of any other defenses that may come to light during discovery in this

case or otherwise. Sinoboom hereby reserves the right to amend or supplement its

Answer to assert any other defenses or affirmative defenses as they may become

available.

                                 COUNTERCLAIMS
      1.     Sinoboom North America LLC (“Counterclaimant”) states for its

counterclaims against Terex South Dakota, Inc., and Terex USA, LLC

(“Counterclaim-Defendants”) as follows:

      2.     Counterclaimant is a Texas limited liability company. Its principal

place of business is located at 310 Mason Creek Dr., Suite 100, Katy, TX 77450.

      3.     On information and belief, Counterclaim-Defendant, Terex South

Dakota, Inc., is a corporation organized and existing under the laws of the State of



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Delaware and has a place of business at 18340 N.E. 76th Street, Redmond,

Washington 98052.

      4.     On information and belief, Counterclaim-Defendant, Terex USA, LLC,

is a corporation organized and existing under the laws of the State of Delaware and

has a place of business at 45 Glover Avenue, Norwalk, Connecticut 06850.

      5.     Subject to Counterclaimant’s affirmative defenses and denials, the

Court has subject matter jurisdiction in this action pursuant to 28 U.S.C. §§ 1121,

1331, 1332, 1338, 1367, 2201, and 2202.

      6.     The Court has personal jurisdiction over Counterclaim-Defendants as

by virtue of Counterclaim-Defendants’ consent to the court's personal jurisdiction

by the mere action of Counterclaim-Defendants filing a lawsuit with the court.

      7.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

      8.     Counterclaim-Defendants filed the applications that became U.S.

Registration Nos. 5,965,074 (“the ’074 registration”), 5,970,650 (“the ’650

registration”), and 5,970,651 (“the ’651 registration”) on January 14, 2019. The

registrations issued on January 21, 2020, January 28, 2020 and January 28, 2020

(respectively).

      9.      These three registrations each claim “the color blue” as applied to

various components of elevating work platforms. (See Dkt. 1-2; Dkt. 1-3; Dkt. 1-4.)




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      10.    “The color blue” is not inherently distinctive. Counterclaim-Defendants

have not shown secondary meaning in “the color blue” without limitation.

      11.    Any showing of secondary meaning is strictly limited to the specific

shade GENIE blue and only when used in conjunction with the GENIE word mark.

      12.    As the Supreme Court recognizes, color trademarks are never

inherently distinctive. See Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205,

211-12 (2000) (“Indeed, with respect to at least one category of mark—colors—we

have held that no mark can ever be inherently distinctive. . . . We held that a color

could be protected as a trademark, but only upon a showing of secondary meaning.”)

(citing Qualitex Co. v. Jacobson Prods. Co., 514 U.S. 159, 162-63 (1995)); see also

Christian Louboutin S.A. v. Yves Saint Laurent Amer. Holdings, Inc., 696 F.3d 206,

225 (2d Cir. 2012); Bd. of Supervisors for La State Univ. Agric. and Mech. College

v. Smack Apparel Co., 550 F.3d 465, 475 (5th Cir. 2008).

      13.    In the Fifth Circuit, a color mark is distinctive and protectable only if

secondary meaning is shown. Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d

225, 240 (5th Cir. 2010); accord Christian Louboutin S.A., 696 F.3d at 225-26.

“Secondary meaning occurs when, in the minds of the public, the primary

significance of a [mark] is to identify the source of the product rather than the

product itself.” Amazing Spaces, 608 F.3d at 247 (quoting Smack Apparel, 550 F.3d

at 476)); see also Wal-Mart Stores, 529 U.S. at 211.



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      14.    Counterclaim-Defendants have not shown that the primary significance

of “the color blue” without limitation, as claimed in the ’074, ’650 and ’651

registrations, is to identify the source of Counterclaim-Defendants products.

      15.    Over a dozen companies have manufactured and sold blue-colored

MEWPs and related products, which eliminates any exclusivity or secondary

meaning claimed by Plaintiffs. These third-party uses are seen for example in the

attached webpages. (See Exhibits 1-17.) Plaintiffs have also failed to show

secondary meaning through advertising and sales or any other means.

      16.    Counterclaim-Defendants have not shown secondary meaning in “the

color blue” without limitation as is claimed in the ’074, ’650 and ’651 registrations.

      17.    Counterclaim-Defendants also cannot show secondary meaning in the

blue color alone because Counterclaim-Defendants have used this color only in

combination with the GENIE word mark such that it is known as “GENIE blue” and

not just “blue.”

      18.    Representative of Counterclaim-Defendants products bearing an

allegedly distinctive shade of blue—GENIE BLUE in combination with the GENIE

word mark are represented by images set forth below:




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(See Dkt. 1, ¶16.)

      19.    Upon information and belief, a Section 2(F) application for registration

of the color mark BLUE claimed for Mobile Elevating Work Platform was filed on

June 29, 2006. The application limited the requested registration to:

             THE MARK CONSISTS OF A DESIGN FEATURE OF THE
             GOODS, NAMELY, THE COLOR BLUE AS APPLIED TO THE
             BASE, ARM AND PLATFORM BASKET OF A MOBILE
             ELEVATING WORK PLATFORM. THE DOTTED OUTLINE OF
             THE GOODS IS INTENDED TO SHOW THE POSITION OF THE
             MARK ON THE GOODS AND IS NOT PART OF THE MARK. THE
             LOCATION OF THE COLOR BLUE IS LIMITED TO THE
             LOCATIONS INDICATED IN THE DRAWING BLUE.




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      20.    U.S. Registration No. 3,540,392 (“the ’392 registration”) for “the color

blue as applied to the base, arm and platform basket of a mobile elevating work

platform” issued on December 2, 2008. (See Dkt. 1-1.)

      21.     The ’392 registration is invalid as a consequence of an improper

amendment during prosecution. The ’392 trademark application contains a conflict

between the originally submitted drawing and the written description of the mark.

Genie Industries, Inc. (“Genie”), Terex South Dakota, Inc.’s ostensible predecessor

in interest to the ’392 registration, submitted a drawing page in the paper application

filed with the USPTO that included the word mark “GENIE” prominently displayed.

Genie subsequently and improperly substituted the original drawing page with a

different drawing page that removed the word mark GENIE. (See Exhibit 18.)




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        22.   The original drawing submitted by Genie with its trademark

application that led to the ’392 registration prominently displays the GENIE word

mark:




(See Exhibit 18 (emphasis added).)

        23.   Under the Trademark Office’s governing procedures, “the drawing

page will control for purposes of determining what the mark is.” TMEP Sec. §

807.01; see also 37 C.F.R. § 2.52 (“A drawing depicts the mark sought to be

registered.”). Consequently, the ’392 registration for the color mark “blue” also

necessarily includes the GENIE word mark.

        24.   After commencing their application for “blue” with a drawing

containing the GENIE word mark, Plaintiffs substituted a drawing that did not

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include the GENIE word mark. (See Exhibit 18.) That drawing now appears in the

final registration. (See Dkt. 1-1.)

      25.      This amendment, which removed the inherently distinctive GENIE

word mark from the mark drawing, materially altered the applied-for mark. This

improper amendment renders the ’392 registration invalid or limited to the original

drawing, which includes the GENIE word mark. See 15 U.S.C. § 1119.

COUNT I
Cancellation of Reg. No. 3,540,392
      26.    Counterclaimant restates and incorporates by reference each of the

averments and denials of their Answer and each of the averments of Paragraphs 1-

25 of the Counterclaims, above, as if fully set forth herein.

      27.    This Court has the authority to determine the right to registration, order

the cancellation of registrations, in whole or in part, restore canceled registrations,

and otherwise rectify registrations of any party to this action pursuant to Sections 18

and 37 of the Lanham Act, 15 U.S.C. §§ 1068, 1119 et seq.

      28.    Counterclaim-Defendants ostensibly own the ’392 registration which

issued on December 2, 2008.

      29.    Counterclaim-Defendants’ removal of the inherently distinctive

GENIE word mark from the ’392 registration during prosecution was a material

alteration of the applied-for mark.



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      30.    Pursuant to 15 U.S.C. § 1119, Counterclaimant seeks an order from this

Court instructing the United States Patent and Trademark Office to cancel

Counterclaim-Defendant’s Reg. No. 3,540,392 due to its improper amendment

during prosecution.

COUNT II
Rectification of Reg. No. 3,540,392

      31.    Counterclaimant restates and incorporates by reference each of the

averments and denials of their Answer and each of the averments of Paragraphs 1-

30 of the Counterclaims, above, as if fully set forth herein.

      32.    This Court has the authority to determine the right to registration, order

the cancellation of registrations, in whole or in part, restore canceled registrations,

and otherwise rectify registrations of any party to this action pursuant to Sections 18

and 37 of the Lanham Act, 15 U.S.C. §§ 1068, 1119 et seq.

      33.    Counterclaim-Defendants ostensibly own the ’392 registration which

issued on December 2, 2008.

      34.    Counterclaim-Defendants’ marks are limited to a very specific shade of

blue when used in conjunction with the word mark GENIE, as it petitioned for during

prosecution to secure allowance of its registrations.

      35.    Pursuant to 15 U.S.C. § 1119, Counterclaimant seeks an order from this

Court instructing the United States Patent and Trademark Office to rectify and



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correct Counterclaim-Defendant’s Reg. No. 3,540,392 to cover only the color

GENIE BLUE used in conjunction with the word mark GENIE.

COUNT III
Cancellation of Reg. Nos. 5,965,074, 5,970,650, and 5,970,651

      36.    Counterclaimant restates and incorporates by reference each of the

averments and denials of their Answer and each of the averments of Paragraphs 1-

35 of the Counterclaims, above, as if fully set forth herein.

      37.    This Court has the authority to determine the right to registration, order

the cancellation of registrations, in whole or in part, restore canceled registrations,

and otherwise rectify registrations of any party to this action pursuant to Sections 18

and 37 of the Lanham Act, 15 U.S.C. §§ 1068, 1119 et seq.

      38.    Counter-Defendants own existing U.S. Trademark Registration

Registration Nos. 5,965,074, 5,970,650, and 5,970,651. These registrations issued

on January 21, 2020, January 28, 2020 and January 28, 2020 (respectively).

      39.    Many other competitors use different shades of the color blue for

MEWPs and related products. Over a dozen other companies have manufactured and

sold blue-colored MEWPs and related products. (See Exhibits 1-17.)

      40.    Color marks are never inherently distinctive. Counterclaim-Defendants

have not shown secondary meaning for “the color blue” in general due to at least the

extensive and pervasive third party use of blue for MEWPs and related products.



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Even if Counterclaim-Defendants can show secondary meaning for GENIE BLUE,

that is a very specific shade of blue used in conjunction with the GENIE word mark

and does not extend to “the color blue” as claimed in the ’074, ’650, and ’651

registrations.

      41.    Pursuant to 15 U.S.C. § 1119, Counterclaimant seeks an order from this

Court instructing the United States Patent and Trademark Office to cancel Counter-

Defendants’ Reg. Nos. 5,965,074, 5,970,650, and 5,970,651 for lack of

distinctiveness and/or failure to show secondary meaning.

COUNT IV
Rectification of Reg. Nos. 5,965,074, 5,970,650, and 5,970,651
      42.    Counterclaimant restates and incorporates by reference each of the

averments and denials of their Answer and each of the averments of Paragraphs 1-

41 of the Counterclaims, above, as if fully set forth herein.

      43.    This Court has the authority to determine the right to registration, order

the cancellation of registrations, in whole or in part, restore canceled registrations,

and otherwise rectify registrations of any party to this action pursuant to Sections 18

and 37 of the Lanham Act, 15 U.S.C. §§ 1068, 1119 et seq.

      44.    Counter-Defendants own existing U.S. Trademark Registration

Registration Nos. 5,965,074, 5,970,650, and 5,970,651. These registrations issued

on January 21, 2020, January 28, 2020 and January 28, 2020 (respectively).



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      45.     Terex’s marks are limited to a very specific shade of blue—GENIE

blue—as it stated during prosecution to secure allowance of its registrations.

      46.     Counterclaim-Defendants have not shown secondary meaning for blue

in general. Even if it can show secondary meaning for GENIE BLUE used in

conjunction with the GENIE word mark and does not extend to “the color blue” as

claimed in the ’074, ’650, and ’651 registrations.

      47.     Pursuant to 15 U.S.C. § 1119, Counterclaimant seeks an order from this

Court instructing the United States Patent and Trademark Office to limit Counter-

Defendants’ Reg. Nos. 5,965,074, 5,970,650, and 5,970,651 to cover only GENIE

BLUE used in connection with the GENIE word mark, rather than “the color blue”

as claimed.

COUNT V

Rectification of Reg. Nos. 5,965,074, 5,970,650, and 5,970,651

      48.     Counterclaimant restates and incorporates by reference each of the

averments and denials of their Answer and each of the averments of Paragraphs 1-

47 of the Counterclaims, above, as if fully set forth herein.

      49.     This Court has the authority to determine the right to registration, order

the cancellation of registrations, in whole or in part, restore canceled registrations,

and otherwise rectify registrations of any party to this action pursuant to Sections 18

and 37 of the Lanham Act, 15 U.S.C. §§ 1068, 1119 et seq.



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      50.    Counter-Defendants own existing U.S. Trademark Registration

Registration Nos. 5,965,074, 5,970,650, and 5,970,651. These registrations issued

on January 21, 2020, January 28, 2020 and January 28, 2020 (respectively).

      51.    Terex’s marks are limited to a very specific shade of blue—GENIE

blue—as it stated during prosecution to secure allowance of its registrations.

      52.    Counterclaim-Defendants have not shown secondary meaning for blue

in general. Even if it can show secondary meaning for GENIE BLUE and does not

extend to “the color blue” as claimed in the ’074, ’650, and ’651 registrations.

      53.    Pursuant to 15 U.S.C. § 1119, Counterclaimant seeks an order from this

Court instructing the United States Patent and Trademark Office to limit

Counterclaim-Defendants’ Reg. Nos. 5,965,074, 5,970,650, and 5,970,651 to cover

only GENIE BLUE rather than “the color blue” as claimed.

COUNT VI

Declaratory Judgment

      54.    Counterclaimant hereby incorporates the foregoing paragraphs 1-53 by

reference as if fully set forth herein.

      55.    This cause of action arises under the Trademark Act of 1946, 15 U.S.C.

§§ 1051 et seq., and the Federal Declaratory Judgment Act, 28 U.S.C. §§2201-02.

      56.    The Court has jurisdiction to hear this counterclaim under Fed. R. Civ.

P. 13(a) and (b), 15 U.S.C. §§ 1119 and 1121, and 28 U.S.C. §§1331 and 1338.



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        57.   Counterclaim-Defendants’ complaint seeks an array of coercive

remedies against Counterclaimant, including permanent injunctive relief,

destruction of property, damages and attorneys’ fees.

        58.   Counterclaimant's use of a color of blue is a materially different usage

from Counterclaim-Defendants' use of the GENIE BLUE mark in conjunction of the

GENIE word mark.

        59.   Counterclaimant has denied that its use of a color of blue infringes any

trademark     or   other   rights   held   by   Counterclaim-Defendants;     however,

Counterclaim-Defendants have persisted in asserting that it has a legal right to enjoin

Counterclaimant from using the color blue anywhere in the country.

        60.   Counterclaimant has not infringed any rights held by Counterclaim-

Defendants in the color mark BLUE, and is not liable to Counterclaim-Defendants

for any injunctive, monetary, or other relief as a consequence of its use of a color of

blue.

        61.   Counterclaimant is entitled to a judgment, pursuant to 28 U.S.C. §

2201(a), declaring that Counterclaimant are not liable to Counterclaim-Defendants

for any federal trademark infringement, counterfeiting, federal false designation of

origin, Texas common law unfair competition, Texas common law trademark, as

alleged in Counts I-IV of the Complaint.




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      62.   Counterclaimant is entitled to a judgment that any rights held by

Counterclaim-Defendants in “the color blue,” including Registration Nos.

3,540,392, 5,965,074, 5,970,650, and 5,970,651 are limited to the specific shade of

GENIE BLUE and/or only when used in conjunction with the word mark GENIE.

      63.   Counterclaimant is entitled to a judgment cancelling Registration Nos.

3,540,392, 5,965,074, 5,970,650, and 5,970,651.

    WHEREFORE, Counterclaimant prays that the Court:

      a)    dismiss Plaintiffs’ Complaint with prejudice;

      b)    declare, adjudge and decree that Counter-Defendants’ Registration Nos

3,540,392, 5,965,074, 5,970,650, and 5,970,651 are invalid and therefore cancelled;

      c)    in the alternative, declare, adjudge and decree that Counter-Defendants’

Registration Nos 3,540,392, 5,965,074, 5,970,650, and 5,970,651 are strictly limited

to the specific shade of GENIE BLUE and/or only when used in conjunction with

the word mark GENIE;

      d)    declare, adjudge and decree that Counterclaimant’s use of the color blue

was adopted in good faith;

      e)    declare, adjudge and decree that Counterclaimant’s use of a color of

blue is not likely to cause confusion with any rights owned by Counterclaim-

Defendants in the alleged GENIE BLUE color marks;




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      f)     declare, adjudge and decree that Counterclaimant’s use of a color of

blue does not constitute federal mark infringement or counterfeiting, as alleged in

Count I of the complaint or otherwise;

      g)     declare, adjudge and decree that Counterclaimant’s use of a color of

blue does not constitute federal false designation of origin, as alleged in Count II of

the complaint or otherwise;

      h)     declare, adjudge and decree that Counterclaimant’s use of a color of

blue does not constitute Trademark Infringement under Texas Common Law, as

alleged in Count III of the complaint or otherwise;

      i)     declare, adjudge and decree that Counterclaimant’s use of a color of

blue does not constitute a violation of Unfair Competition under Texas Common

Law, as alleged in Count IV of the complaint or otherwise;

      j)     award Counterclaimant attorneys’ fees and costs and such other relief

as the Court may deem just and proper.

                                   JURY DEMAND

      Counterclaimant demands trial by jury of all issues raised herein that are

properly tried to a jury.

Dated: March 12, 2021




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                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of Defendant’s Answer, Defenses, and
Counterclaims has been served on all counsel listed below either electronically pursuant to the
court’s ECF noticing system, direct e-mail or facsimile on this the 12th day of March, 2021.

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